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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 Chad Hayse,

                                   Plaintiff(s),
 v.                                                    Case No. 4:17−cv−13294−LVP−EAS
                                                       Hon. Linda V. Parker
 City of Melvindale, et al.,

                                   Defendant(s),



            ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

     IT IS ORDERED that the following motion(s) are referred to U.S. Magistrate Judge
 Elizabeth A. Stafford for a hearing and determination pursuant to 28 U.S.C. § 636(b)(1)(A):

                  Motion for Sanctions − #88




                                                   s/Linda V. Parker
                                                   Linda V. Parker
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/R Loury
                                                   Case Manager

 Dated: June 27, 2018
